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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                      23-cr-197 (S-1) (JS) (AYS)

  UNITED STATES OF AMERICA,
                                                      NOTICE OF MOTIONS FOR A
         -v-                                          PARTIALLY ANONYMOUS JURY
                                                      AND A WRITTEN JUROR
  GEORGE ANTHONY DEVOLDER                             QUESTIONNAIRE IN ADVANCE OF
  SANTOS,                                             VOIR DIRE
  Also known as “George Santos”

                                   Defendant.


        PLEASE TAKE NOTICE, that upon the pleadings, the Declaration of Andrew L

Mancilla, Esq., the exhibits annexed thereto, and the attached Memorandum of Law, GEORGE

ANTHONY DEVOLDER SANTOS will move this Court before the Honorable Joanna Seybert,

at the United States District Court located at the Courthouse at 100 Federal Plaza, Central Islip,

New York, 11722, at a date and time to be fixed by the Court, for an Order: (i) confining

disclosure of the jurors’ identities to the parties, attorneys (and staff), and the Court; (ii) directing

the use of a questionnaire to facilitate jury selection; and (iii) whatever other and further relief

the Court deems just and appropriate.

Dated: New York, New York
       August 6, 2024
                                                MANCILLA & FANTONE, LLP

                                                By: /s/ Andrew Mancilla
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                                                Robert Fantone, Esq.
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                                        Attorneys for Defendant George Santos

To:   All parties of record via ECF




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